          Case 1:21-cv-02900-CJN Document 25 Filed 06/21/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SMARTMATIC USA CORP., et al.,

             Plaintiffs,

     v.                                       Civil Action No. 1:21-cv-02900 (CJN)

HERRING NETWORKS, INC.,

             Defendant.


                                       ORDER

      As set forth in the accompanying Memorandum Opinion, it is hereby ORDERED that

OAN’s Motion to Dismiss, ECF No. 21, is DENIED.

It is SO ORDERED.

                                                    CARL J. NICHOLS
                                                    United States District Judge
DATE: June 21, 2022




                                          1
